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 1   NICOLA T. HANNA
     United States Attorney
 2   LAWRENCE S. MIDDLETON
     Assistant United States Attorney
 3   Chief, Criminal Division
     KERRY L. QUINN (Cal. Bar No. 302954)
 4   Assistant United States Attorney
     Major Frauds Section
 5        1100 United States Courthouse
          312 North Spring Street
 6        Los Angeles, California 90012
          Telephone: (213) 894-5423
 7        Facsimile: (213) 894-6269
          E-mail:    Kerry.L.Quinn@usdoj.gov
 8
     Attorneys for Plaintiff
 9   UNITED STATES OF AMERICA

10                          UNITED STATES DISTRICT COURT

11                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

12   UNITED STATES OF AMERICA,               No. CR 17-547-MWF

13             Plaintiff,                    STIPULATION REGARDING REQUEST FOR
                                             (1) CONTINUANCE OF TRIAL DATE AND
14                    v.                     (2) FINDINGS OF EXCLUDABLE TIME
                                             PERIODS PURSUANT TO SPEEDY TRIAL
15   JASON NEWLING,                          ACT

16             Defendant.                    CURRENT TRIAL DATE:        03/06/2018
                                             PROPOSED TRIAL DATE:       08/07/2018
17

18        Plaintiff United States of America, by and through its counsel
19   of record, the Acting United States Attorney for the Central District
20   of California and Assistant United States Attorney Kerry L. Quinn,
21   and defendant JASON NEWLING (“defendant”), both individually and by
22   and through his counsel of record, Brett Greenfield, Esq., hereby
23   stipulate as follows:
24        1.    The Indictment in this case was filed on August 30, 2017.
25   Defendant first appeared before a judicial officer of the court in
26   which the charges in this case were pending on August 1, 2017.            The
27   Speedy Trial Act, 18 U.S.C. § 3161, originally required that the
28   trial commence on or before November 8, 2017.
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 1        2.    On September 11, 2017, the Court set a trial date of

 2   November 7, 2017, and a status conference for September 25, 2017.

 3        3.    Defendant is released on bond pending trial.         The parties

 4   estimate that the trial in this matter will last approximately five

 5   to six days.

 6        4.    The Court has previously continued the trial date in this

 7   case from November 8, 2017 to March 6, 2018, and found the period

 8   between September 25, 2017 and March 6, 2018 to be excluded in

 9   computing the time within which the trial must commence, pursuant to

10   the Speedy Trial Act.

11        5.    By this stipulation, defendant moves to continue the trial

12   date to August 7, 2018, and the status conference to July 30, 2018.

13        6.    Defendant requests the continuance based upon the following

14   facts, which the parties believe demonstrate good cause to support

15   the appropriate findings under the Speedy Trial Act:

16              a.    Defendant is charged with a violation of 18 U.S.C.

17   § 1343:   Wire Fraud.    The government has produced discovery to the

18   defendant, comprising approximately 50,000 pages, including agent

19   reports, recordings, transcripts of recordings, voluminous bank

20   records, tax-related documents, documents from witnesses, search

21   warrant returns, and other documents collected in the course of the

22   investigation.    The investigation in this case is ongoing with

23   respect to additional possible charges and defendants, and thus

24   discovery is ongoing.

25              b.    Defense counsel also has other active matters

26   preventing full preparation of this matter on the original schedule,

27   including the following trials and other case-related matters

28   scheduled in the upcoming months:

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 1                     i.   United States v. Fisher, 1:16-CR-717 (N.D. Ill.),

 2   a sentencing hearing scheduled for March 27, 2018, in a fraud and

 3   money laundering case with significant sentencing exposure.

 4                c.   In light of the foregoing, counsel for defendant

 5   represents that additional time is necessary to confer with

 6   defendant, conduct and complete an independent investigation of the

 7   case, conduct and complete additional legal research including for

 8   potential pre-trial motions, review the discovery and potential

 9   evidence in the case, and prepare for trial in the event that a

10   pretrial resolution does not occur.       Defense counsel represents that

11   failure to grant the continuance would deny him reasonable time

12   necessary for effective preparation, taking into account the exercise

13   of due diligence.

14                d.   Defendant believes that failure to grant the

15   continuance will deny him continuity of counsel and adequate

16   representation.

17                e.   The government does not object to the continuance.

18                f.   The requested continuance is not based on congestion

19   of the Court’s calendar, lack of diligent preparation on the part of

20   the attorney for the government or the defense, or failure on the

21   part of the attorney for the Government to obtain available

22   witnesses.

23        7.      For purposes of computing the date under the Speedy Trial

24   Act by which defendant’s trial must commence, the parties agree that

25   the time period of March 6, 2018 to August 7, 2018, inclusive, should

26   be excluded pursuant to 18 U.S.C. §§ 3161(h)(7)(A), (h)(7)(B)(i), and

27   (h)(7)(B)(iv) because the delay results from a continuance granted by

28   the Court at defendant’s request, without government objection, on

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 1   the basis of the Court’s finding that: (i) the ends of justice served

 2   by the continuance outweigh the best interest of the public and

 3   defendant in a speedy trial; (ii) failure to grant the continuance

 4   would be likely to make a continuation of the proceeding impossible,

 5   or result in a miscarriage of justice; and (iii) failure to grant the

 6   continuance would unreasonably deny defendant continuity of counsel

 7   and would deny defense counsel the reasonable time necessary for

 8   effective preparation, taking into account the exercise of due

 9   diligence.

10        8.      Nothing in this stipulation shall preclude a finding that

11   other provisions of the Speedy Trial Act dictate that additional time

12   periods be excluded from the period within which trial must commence.

13   Moreover, the same provisions and/or other provisions of the Speedy

14   Trial Act may in the future authorize the exclusion of additional

15   time periods from the period within which trial must commence.

16        IT IS SO STIPULATED.

17   Dated: February 20, 2018             Respectfully submitted,

18                                        NICOLA T. HANNA
                                          United States Attorney
19
                                          LAWRENCE S. MIDDLETON
20                                        Assistant United States Attorney
                                          Chief, Criminal Division
21

22                                              /s/
                                          KERRY L. QUINN
23                                        Assistant United States Attorney

24                                        Attorneys for Plaintiff
                                          UNITED STATES OF AMERICA
25

26
          I am JASON NEWLING’s attorney.       I have carefully discussed every
27
     part of this stipulation and the continuance of the trial date with
28

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